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   8
   9
                        IN THE UNITED STATES DISTRICT COURT
  10
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11
  12
  13   ROSE DIAZ, ET AL.,                        2:19-cv-04695 DMG(AGRx)
  14                       Plaintiffs, DEFENDANT BRIAN GREEN’S
                                       NOTICE OF MOTION AND
  15           v.                      MOTION FOR SUMMARY
                                       JUDGMENT, OR, IN THE
  16   COUNTY OF VENTURA, ET AL.,      ALTERNATIVE, PARTIAL
                                       SUMMARY JUDGMENT;
  17                     Defendants. MEMORANDUM OF POINTS
                                       AND AUTHORITIES IN SUPPORT
  18                                   THEREOF
  19                                             Date:      January 8, 2021
                                                 Time:      3:00 p.m.
  20                                             Courtroom: 8C
  21                                             Judge:        Hon. Dolly M. Gee
  22                                             Trial Date: March 30, 2021
                                                 Action Filed: May 30, 2019
  23
  24
       TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD HEREIN:
  25
            PLEASE TAKE NOTICE THAT on January 8, 2021, at 3:00 p.m., in
  26
       Courtroom 8C of the United States District Court located at 350 West First Street,
  27
       Los Angeles, California, Defendant California Highway Patrol Officer Brian Green
  28
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   1   (Officer Green) will, and hereby does, move the Court as follows:
   2        1.   For summary judgment in favor of Officer Green and against Plaintiffs
   3   because Plaintiffs cannot establish the existence of a genuine issue of material fact
   4   as to any claim asserted against Defendant, and Defendant is entitled to judgment as
   5   a matter of law.
   6        2.   If, for any reason, summary judgment cannot be had, for partial summary
   7   judgment as to the following claims and issues:
   8             A.    Officer Green is entitled to judgment in his favor as to Plaintiffs’
   9   First Cause of Action pursuant to 42 U.S.C. section 1983 based on unreasonable
  10   use of force because the uncontroverted facts establish that his use of force was
  11   objectively reasonable.
  12             B.    Officer Green is entitled to judgment in his favor as to Plaintiffs’
  13   First Cause of Action pursuant to 42 U.S.C. section 1983 based on unreasonable
  14   use of force because there is no evidence showing that he violated any rights that
  15   were “clearly established” at the time of the alleged violation, and he is therefore
  16   entitled to qualified immunity.
  17             C.    Officer Green is entitled to judgment in his favor as to Plaintiffs’
  18   Third Cause of Action pursuant to 42 U.S.C. section 1983 based on a violation of
  19   Plaintiffs’ substantive due process rights because there is no evidence that he acted
  20   with a purpose to harm unrelated to a legitimate law enforcement objective.
  21             D.    Officer Green is entitled to judgment in his favor as to Plaintiffs’
  22   Third Cause of Action pursuant to 42 U.S.C. section 1983 based on a violation of
  23   Plaintiffs’ substantive due process rights because there is no evidence showing that
  24   he violated any rights that were “clearly established” at the time of the alleged
  25   violation, and he is therefore entitled to qualified immunity.
  26             E.    Officer Green is entitled to judgment in his favor as to Plaintiffs’
  27   Fifth Cause of Action for negligence because the uncontroverted facts establish that
  28   his use of force was objectively reasonable under the totality of the circumstances.
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   1             F.   Officer Green is entitled to judgment in his favor as to Plaintiffs’
   2   Sixth Cause of Action based on Civil Code section 52.1 because there is no
   3   evidence that he violated Decedent’s constitutional rights or that he acted with a
   4   specific intent to violate Decedent’s right to freedom from unreasonable seizure.
   5             G.   Officer Green is entitled to judgment in his favor as to Plaintiffs’
   6   Seventh Cause of Action for battery because the uncontroverted facts establish that
   7   his use of force was objectively reasonable.1
   8        This motion is made following the conference of counsel pursuant to L.R. 7-3
   9   which took place on November 24, 2020. During the conference of counsel,
  10   counsel for plaintiffs agreed to dismiss plaintiffs’ Second Cause of Action pursuant
  11   to 42 U.S.C. section 1983 based on denial of medical care.
  12        This Motion is and will be based upon this Notice, the Memorandum of Points
  13   and Authorities, the Declarations of Brian Green, Joanne Smith, Victor Lacy, Ryan
  14   Poynter, Dean Cook, Michael Monteagudo, Michael Venato, Michael Coons, Vina
  15   Spiehler, and Donna M. Dean, the concurrently filed Request for Judicial Notice,
  16   all filed in support thereof, the Proposed Statement of Uncontroverted Facts and
  17   Conclusions of Law lodged in support thereof, oral argument at any hearing on the
  18   motion, and all other papers and pleadings on file herein.
  19   Dated: December 2, 2020                         Respectfully submitted,
  20                                                   XAVIER BECERRA
                                                       Attorney General of California
  21                                                   MARK T. CUMBA
                                                       Supervising Deputy Attorney General
  22
                                                       s/ Donna M. Dean
  23
                                                       DONNA M. DEAN
  24                                                   Deputy Attorney General
                                                       Attorneys for Defendant
  25                                                   Brian Green
  26
  27         1
               Plaintiffs’ agreed to dismiss their Second Causes of Action during meet and
       confer discussions regarding this motion. Plaintiffs’ Fourth Cause of Action for
  28   municipal liability is not asserted against Officer Green.
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   1                                    INTRODUCTION
   2        This lawsuit arises out of the shooting of Decedent Dimas Diaz, Jr., by
   3   California Highway Patrol (CHP) Officer Brian Green and Ventura County
   4   Sheriff’s Office (VCSO) Deputy Noel Juarez. After leading police on a high speed
   5   pursuit on city streets and the 101 freeway, Diaz, who was known to be armed and
   6   dangerous, a wanted felon, and in violation of parole, crashed his car and then
   7   engaged in an approximately one-hour standoff with officers using his car for
   8   concealment and cover. During the standoff, Diaz failed to obey approximately
   9   100 commands to show his hands and surrender, continuously concealed his right
  10   hand, and threatened to shoot the officers. After nearly an hour, one officer fired a
  11   “less lethal” bean bag round at Diaz, knocking him down. As officers rushed
  12   toward Diaz to arrest him, Diaz got up, pointed a black object at the officers, and
  13   lunged forward. Officer Green and Deputy Juarez fired their weapons, killing Diaz.
  14        The central issue in this motion is whether Officer Green was justified in using
  15   deadly force when Diaz lunged toward the officers with what appeared to be a gun
  16   in his hand. The uncontroverted facts establish that Officer Green’s use of force
  17   was objectively reasonable under the totality of the circumstances because Officer
  18   Green had probable cause to believe Diaz posed an imminent threat of serious
  19   bodily injury or death to himself and the other officers. For the same reasons,
  20   plaintiffs’ negligence and battery claims fail. Plaintiffs’ substantive due process
  21   claim has no merit as there is no evidence that Officer Green’s use of force was for
  22   a purpose to harm unrelated to a legitimate law enforcement objective.
  23        Plaintiffs’ claims for violation of the Fourth and Fourteenth Amendments are
  24   also barred by qualified immunity, as Officer Green did not violate any “clearly
  25   established” law or right under the Fourth or Fourteenth Amendments.
  26        Finally, Plaintiffs can provide no evidence to support their California Civil
  27   Code section 52.1 claim because there is no evidence Officer Green violated Diaz’s
  28
                                                 1
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    1   constitutional rights or acted with a specific intent to violate Diaz’s right to freedom
    2   from unreasonable seizure.
    3        Accordingly, Officer Green respectfully requests that the court enter summary
    4   judgment, or, in the alternative, partial summary judgment, in his favor.
    5                             STATEMENT OF FACTS
    6        A.   The Pursuit
    7        On January 12, 2019, at approximately 10:30 a.m., Diaz fled from VCSO
    8   deputies. Statement of Undisputed Facts (SUF) Nos. 5 and 6. VCSO requested
    9   assistance from CHP. SUF No. 7. A VCSO helicopter also joined, monitored the
   10   pursuit from overhead, and took video. SUF No. 8. During the pursuit, Diaz ran
   11   red lights, reached speeds of up to approximately 80 m.p.h. on surface streets,
   12   entered the freeway and drove at high speeds and in the center divider. SUF Nos. 4,
   13   9, 11.
   14        At approximately 11:10 a.m., Officer Green joined the pursuit. SUF No. 10.
   15   Officer Green, who was the Officer in Charge for the CHP Moorpark area office
   16   that day, was wearing a tan CHP uniform and driving a marked CHP vehicle. SUF
   17   Nos. 1-3. During the pursuit, Officer Green saw the suspect vehicle reach speeds of
   18   95 to 100 miles per hour and use the center divider to pass other vehicles. SUF No.
   19   12. The officers, including Officer Green, were advised by dispatch that Diaz was
   20   driving a stolen vehicle, was considered armed and dangerous, was a wanted felon,
   21   had a “no bail” parole warrant, and had a history of “psych” concerns, weapons,
   22   and gangs. SUF Nos. 4, 13-15.
   23        At approximately 11:15 a.m., Officer Green cancelled the pursuit due to traffic
   24   and weather conditions. SUF No. 16. After evading police for approximately 45
   25   minutes, Diaz swerved across all southbound lanes of the freeway, and crashed into
   26   a guardrail on the right shoulder. SUF Nos. 5, 17.
   27        After the collision, Diaz got out of the vehicle and barricaded himself on the
   28   driver’s side of the vehicle so that the vehicle was between himself and the officers.
                                                  2
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    1   SUF No. 18. Officer Green and other law enforcement personnel blocked the
    2   freeway, held Diaz at gunpoint, and ordered him to surrender. SUF No. 19.
    3        B.   The Standoff
    4        Officer Green believed that Diaz was using his vehicle for cover and
    5   concealment from the law enforcement officers. SUF No. 20. Officer Green also
    6   saw that Diaz was following his movements and making eye contact with him, so
    7   Officer Green continuously moved from the “V” of his patrol vehicle’s door to the
    8   left rear of his patrol vehicle. SUF No. 21.
    9        Diaz refused to comply with over 100 commands to show his hands and
   10   surrender and instead engaged the officers in a standoff that lasted approximately
   11   one hour. SUF Nos. 22-25. Officer Green requested an armored vehicle/SWAT
   12   and another officer requested a canine unit, but they were told those resources were
   13   not available. SUF No. 26.
   14        During the standoff, Diaz was agitated and repeatedly exited and entered his
   15   vehicle, hid his hands, suddenly popped his head up over the vehicle and ducked
   16   down again, concealed his right hand in his jacket pocket, and was behaving very
   17   erratically. SUF Nos. 22-25, 27-31. Diaz continuously refused to raise his hands
   18   and surrender. SUF Nos. 5, 22, 25. Officer Green heard Diaz yell at the officers
   19   that if he came out from behind the vehicle he would “come out shooting.” SUF
   20   No. 28. At one point, Diaz yelled, “You motherfuckers will get shot!” SUF No.
   21   31. Diaz also yelled at the officers, “I’m not going back!” – apparently referring to
   22   his prison and parole status. SUF No. 29. Diaz also said he was never going to see
   23   his kids again. SUF No. 30. Given Diaz’s erratic behavior, Officer Green believed
   24   that Diaz was under the influence of drugs or alcohol. SUF No. 32.
   25        The VCSO helicopter eventually had to leave to refuel. SUF No. 33.
   26        Officer Green was armed with an AR-15 rifle. SUF No. 34. CHP Officer
   27   Werner Pineda was armed with a shotgun loaded with less-lethal, beanbag shot
   28   shells. SUF No. 35.
                                                 3
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    1        Approximately one hour after Diaz crashed his car, as Diaz was standing
    2   outside of his vehicle and facing the officers, Officer Pineda announced, “Less-
    3   lethal!” and fired a round at Diaz, causing Diaz to fall backward to the pavement.
    4   SUF No. 36.
    5        C.   The Shooting
    6        In a rapidly unfolding sequence of events, officers approached Diaz to arrest
    7   him. SUF No. 37. Officer Green saw an object that he believed to be a knife and
    8   yelled, “Knife! Knife! Knife!” SUF No. 38. Instead of surrendering, Diaz rose to
    9   his feet, concealed his right hand, and used his left hand to hold a black object.
   10   SUF No. 38. Diaz pointed the black object at the officers and lunged forward.
   11   SUF No. 40.
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   23   SUF No. 40 (Coons Decl., ¶¶ 1-3, Ex. 7).2
   24        Officer Green believed that the black object in Diaz’s left hand was a gun.
   25   SUF No. 41. Fearing for his life and the lives of his fellow officers, Officer Green
   26   fired four rounds from his rifle at Diaz. SUF No. 42. Officer Pineda also fired a
   27
              2
               This photo is an enlargement of a portion of Exhibit 7 to the Declaration of
   28   Michael Coons.
                                                  4
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    1   second less-lethal round at Diaz. SUF No. 43. VCSO Deputy Noel Juarez also
    2   fired his weapon at Diaz. SUF No. 44. Diaz was pronounced dead at the scene.
    3   SUF No. 45. After the shooting, a black plastic object, which appears to be part of
    4   a console of an automobile, was located next to Diaz’s body. SUF No. 46.
    5        Diaz was under the influence of methamphetamine at the time of the incident.
    6   SUF No. 47.
    7                                       ARGUMENT
    8   I.   OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
             PLAINTIFFS’ FIRST CAUSE OF ACTION FOR EXCESSIVE FORCE BECAUSE
    9        THE UNCONTROVERTED FACTS ESTABLISH THAT HIS USE OF FORCE
             WAS OBJECTIVELY REASONABLE
   10
   11        An excessive force claim against a police officer is considered a seizure and
   12   analyzed under the Fourth Amendment’s objective reasonableness standard.
   13   Graham v. Connor, 490 U.S. 386, 397 (1989). The objective reasonableness
   14   standard balances the “nature and quality” of the intrusion on the individual’s
   15   Fourth Amendment interests and countervailing government interests. Id. at 396.
   16   The courts should analyze reasonableness from the perspective of a reasonable
   17   officer on the scene and a totality-of-the-circumstances analysis with then-existing
   18   facts and circumstances, rather than with the benefit of 20/20 hindsight. Id. at 396-
   19   397. This analysis includes the (1) severity of the crime, (2) whether the suspect
   20   poses an immediate threat (the “most important single element”), and (3) whether
   21   the suspect is actively resisting or evading arrest. Id. Only objectively
   22   unreasonable force violates the Fourth Amendment. Graham, 490 U.S. at 396.
   23        Reasonable use of deadly force may include a range of conduct, and “the
   24   availability of a less-intrusive alternative will not render conduct unreasonable.”
   25   Wilkinson v. Torres, 610 F.3d 546, 551 (9th Cir. 2010). Officers are not required to
   26   be omniscient and need not possess absolute certainty of harm before engaging in
   27   self-protection. Id. at 553. If officers are justified in firing at a suspect who poses a
   28   severe threat to public safety, “the officers need not stop shooting until the threat
                                                   5
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    1   has ended.” Plumhoff v. Rickard, 572 U.S. 765, 777 (2014).
    2        Under the first factor of the Graham analysis, it is undisputed that, in addition
    3   to driving a stolen vehicle, Diaz was observed evading arrest with reckless
    4   disregard for public safety (Cal. Veh. Code (§ 2800.2), which included speeding
    5   and driving recklessly on city streets, running red lights, speeding and driving
    6   recklessly on the freeway, and using the center divider to pass vehicles. SUF Nos.
    7   11, 12, 16. The Ninth Circuit recognizes that vehicle flight from police inherently
    8   poses a serious risk to the safety of pedestrians and other drivers, as well as a risk of
    9   violent confrontation. United States v. Martinez, 771 F.3d 672, 677-678 (9th Cir.
   10   2014), cert. granted, judgment vacated on other grounds, 576 U.S. 1080 (2015).
   11   Similarly, in Sykes v. United States, 564 U.S. 1 (2011), the Supreme Court
   12   recognized,
   13        The attempt to elude capture is a direct challenge to an officer’s
   14        authority. It is a provocative and dangerous act that dares, and in a
   15        typical case requires, the officer to give chase.
   16   Sykes, 564 U.S. at 9, overruled on other grounds by Johnson v. United States, 576
   17   U.S. 591 (2015). In addition, Diaz was driving under the influence of
   18   methamphetamine. SUF No. 47.
   19        Under the Graham third factor, it is also undisputed that Diaz attempted to
   20   actively evade arrest. Diaz lead officers on a high-speed pursuit for approximately
   21   45 minutes and then engaged in a standoff with law enforcement officers on the
   22   freeway for nearly an hour during which he told officers that he was armed and
   23   continuously concealed his right hand. SUF Nos. 4-12, 18-25, 27-31.
   24        Finally, under the second – and most important – Graham factor, Officer
   25   Green had probable cause to believe that Diaz posed an immediate threat of serious
   26   injury or death to himself and the other officers present at the scene when Diaz
   27   pointed what appeared to be a gun at Officer Green. From Officer Green’s
   28   perspective, Diaz fled from police, dangerously blew through red lights at high
                                                   6
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    1   speeds and drove recklessly on the freeway, reaching speeds of 95 to 100 miles per
    2   hour and passing other vehicles in the center divider. SUF Nos. 11, 12, 17. Officer
    3   Green had been advised that Diaz was armed and dangerous, had a history of
    4   violence, was driving a stolen vehicle, and had a no bail warrant because he had
    5   violated parole. SUF Nos. 13-15. After Diaz crashed his car, he did not put his
    6   hands up and surrender; instead, he barricaded himself behind his car and
    7   threatened to shoot the officers while concealing his right hand. SUF Nos. 18-25,
    8   27-31. Even with several uniformed officers aiming guns at him and commanding
    9   him repeatedly to show his hands, Diaz did not give up. Id. In fact, he appeared to
   10   be taking a tactical position and following Officer Green’s movements. SUF Nos.
   11   20-21. The VCSO helicopter – which, unlike the officers, had an unobstructed
   12   view of Diaz – repeatedly advised that Diaz was concealing his right hand. SUF
   13   No. 22. Eventually, however, the VCSO helicopter had to leave to refuel, leaving
   14   the officers with no overhead surveillance of Diaz’s conduct. SUF No. 33. Diaz
   15   refused to cooperate for nearly an hour, during which Officer Green heard Diaz say
   16   that he “would come out shooting,” that he was “not going back” (presumably
   17   referring to prison given his parole status [SUF Nos. 15, 29]), and that he was never
   18   going to see his kids again. SUF Nos. 23, 28-31. Given his erratic behavior,
   19   Officer Green believed that Diaz was under the influence of drugs or alcohol – and,
   20   indeed, Diaz was under the influence of methamphetamine. SUF Nos. 32, 46.
   21   Finally, when Diaz was shot with a less lethal shotgun round to allow officers to
   22   end the standoff and effect an arrest, instead of giving up, Diaz got up and charged
   23   at the officers with an object in his hand pointed at Officer Green. SUF Nos. 36-39.
   24   Officer Green saw the object in Diaz’s hands and believed that Diaz was holding a
   25   gun. SUF Nos. 40-41. To protect himself and his fellow officers, Officer Green
   26   fired his weapon at Diaz. SUF No. 42. The critical inquiry in these rapidly-
   27   evolving circumstances is what Officer Green perceived. Diaz’s threats to shoot the
   28   officers, his concealment of his right hand, and his furtive movement with an object
                                                 7
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    1   in his hand after being shot with a beanbag round created probable cause for any
    2   reasonable officer to believe that Diaz presented an imminent threat of serious
    3   harm. Therefore, Officer Green’s use of force was objectively reasonable.
    4         The fact that Diaz did not actually have a gun in his possession does not alter
    5   the analysis because Officer Green did not, and could not, know this. Police
    6   officers are not required to wait for critical seconds to verify an actual threat when a
    7   momentary delay or hesitation might gravely endanger their lives, even if they are
    8   mistaken about the nature of the threat. City and Cty. of San Francisco v. Sheehan,
    9   135 S. Ct. 1765, 1775 (2015). Diaz’s threats and his actions gave Officer Green
   10   probable cause to believe Diaz posed an imminent threat of serious harm or death,
   11   Officer Green’s use of deadly force was objectively reasonable therefore, he is
   12   entitled to summary judgment on Plaintiffs’ First Cause of Action pursuant to 42
   13   U.S.C. section 1983 based on excessive force.
   14   II.   OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
              PLAINTIFFS’ FIRST CAUSE OF ACTION BASED ON QUALIFIED IMMUNITY
   15
   16         Officer Green’s use of force to protect himself did not violate clearly
   17   established Fourth Amendment law. The doctrine of qualified immunity shields a
   18   government official from liability for monetary damages unless the plaintiff
   19   establishes “(1) that the official violated a statutory or constitutional right, and (2)
   20   that the right was ‘clearly established’ at the time of the challenged conduct.”
   21   Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011) (citing Harlow v. Fitzgerald, 457
   22   U.S. 800, 818 (1982)). Courts have the discretion to decide which prong of this
   23   analysis to address first under the circumstances of a particular case. Pearson v.
   24   Callahan, 555 U.S. 223, 236 (2009). A decision in the defendant’s favor on either
   25   prong establishes qualified immunity, even without consideration of the other
   26   prong. See Reichle v. Howards, 566 U.S. 658, 663 (2012); Shafer v. Cty. of Santa
   27   Barbara, 868 F.3d 1110, 1115 (9th Cir. 2017), cert. denied sub nom. Shafer v.
   28   Padilla, 138 S. Ct. 2582 (2018), citing Pearson, 555 U.S. at 236.
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    1        Qualified immunity grants officials “breathing room to make reasonable but
    2   mistaken judgments about open legal questions” and “properly applied, it protects
    3   all but the plainly incompetent or those who knowingly violate the law.” al-Kidd,
    4   563 U.S. at 743. The purpose of qualified immunity is to ensure public officials
    5   will not be unduly hampered by fear of lawsuits when carrying out their duties to
    6   the public, and that peace officers in particular will not always err on the side of
    7   caution for fear of being held financially liable. Mitchell v. Forsyth, 472 U.S. 511,
    8   526 (1985); Davis v. Scherer, 468 U.S. 183, 196 (1984). Qualified immunity
    9   accomplishes these objectives by serving as “both a defense to liability and limited
   10   ‘entitlement not to stand trial or face the other burdens of litigation.’” Ashcroft v.
   11   Iqbal, 556 U.S. 662, 672 (2009).
   12         To determine whether a right was “clearly established,” a court must first
   13   define the right at the appropriate level of specificity – a right must be established
   14   “in a ‘particularized’ sense so that the ‘contours’ of the right are clear to a
   15   reasonable official.” Reichle, 566 U.S. at 665 (quoting Anderson v. Creighton, 483
   16   U.S. 635, 640 (1987)). For that to be true, “existing precedent must have placed the
   17   . . . constitutional question beyond debate.” Id. (citation omitted). This requires
   18   either “controlling authority” or “a robust ‘consensus of cases of persuasive
   19   authority’” establishing that the official’s conduct was unconstitutional. al-Kidd,
   20   563 U.S. at 741-742 (quoting Wilson v. Layne, 526 U.S. 603, 617 (1999)).
   21         In the recent case of City of Escondido v. Emmons, 139 S. Ct. 500 (2019), the
   22   Supreme Court once again emphasized that:
   23        Specificity is especially important in the Fourth Amendment context,
   24        where the Court has recognized that it is sometimes difficult for an
   25        officer to determine how the relevant legal doctrine, here excessive force,
   26        will apply to the factual situation the officer confronts. Use of excessive
   27        force is an area of the law in which the result depends very much on the
   28        facts of each case ....
                                                   9
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    1   Id. at 503 (quoting Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018). This specificity
    2   is necessary because “[p]recedent involving similar facts can help move a case
    3   beyond the otherwise ‘hazy border between excessive and acceptable force’ and
    4   thereby provide an officer notice that a specific use of force is unlawful.” Kisela,
    5   138 S. Ct. at 1153 (quoting Mullenix v. Luna, 577 U.S. 7, 18, 136 S. Ct. 305, 312
    6   (2015)). The Court in Kisela held – and the Court in City of Escondido reiterated –
    7   that officers are entitled to qualified immunity where there is no existing precedent
    8   that “squarely governs” the specific facts at issue. Kisela, 138 S. Ct. at 1153; City
    9   of Escondido, 139 S. Ct. at 503.
   10        The Ninth Circuit also recently explained the importance of the specificity
   11   required by the Supreme Court in the Fourth Amendment context as follows:
   12        In other words, Plaintiffs must point to prior case law that articulates a
   13        constitutional rule specific enough to alert these deputies in this case that
   14        their particular conduct was unlawful.
   15   Sharp v. Cty. of Orange, 871 F.3d 901, 911 (9th Cir. 2017) (emphasis in
   16   original); Reese v. Cty. of Sacramento, 888 F.3d 1030, 1038 (9th Cir. 2018).
   17        After framing the right at the appropriate level of specificity, a court must
   18   analyze whether “controlling authority” or “a robust ‘consensus of cases of
   19   persuasive authority’” establish that the official’s conduct was unconstitutional. al-
   20   Kidd, 563 U.S. at 741-742. This standard is particularly important for peace
   21   officers, who are required to make constitutional rights decisions in the midst of
   22   rapidly-developing and dangerous circumstances using imperfect information.
   23   Estate of Ford v. Ramirez-Palmer, 301 F.3d 1043, 1049 (9th Cir. 2001).
   24        It is well-established that where a suspect threatens an officer with a weapon
   25   or where the officer has probable cause to believe that the suspect poses a threat of
   26   death or serious physical harm to the officer or others, the officer is justified in
   27   using deadly force. Tennessee v. Garner, 471 U.S. 1, 11 (1985); Wilkinson, 610
   28   F.3d 546. It is not clearly established that using deadly force in this situation would
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    1   constitute excessive force under the Fourth Amendment. Neither Supreme Court
    2   nor circuit precedent would have put a reasonable officer in Officer Green’s
    3   position on notice that using deadly force in the particular circumstances he faced
    4   would violate the Fourth Amendment.
    5        “[T]he Fourth Amendment does not require omniscience. . . .” Elliott v.
    6   Leavitt, 99 F.3d 640, 644 (4th Cir. 1996). Accordingly, courts have held that use of
    7   deadly force was reasonable where a suspect, though ultimately found to be
    8   unarmed, failed to show his hands and appeared to reach for, or brandish, a weapon.
    9   See, e.g., Anderson v. Russell, 247 F.3d 125, 131 (4th Cir. 2001) (no constitutional
   10   violation when the suspect, believed to be armed, was shot while reaching toward
   11   pocket to turn off Walkman radio, because “[a]ny reasonable officer … would have
   12   imminently feared for his safety and the safety of others.”); Slattery v. Rizzo, 939
   13   F.2d 213, 216-217 (4th Cir. 1991) (use of deadly force justified where officer
   14   reasonably believed suspect was coming at him with a weapon [later determined to
   15   be a beer bottle] when suspect failed to comply with orders to show hands.); see
   16   also, Forrett v. Richardson, 112 F.3d 416, 420 (9th Cir. 1997), superseded on other
   17   grounds in Chroma Lighting v. GTE Products Corp., 127 F.3d 1136, 1136 (9th Cir.
   18   1997) (reinforcing finding in Garner that “it is not necessary that the suspect be
   19   armed or threaten the officer with a weapon” at the time of the shooting); Barnes v.
   20   City of Pasadena, 508 Fed. App’x. 663, 665 (9th Cir. 2013) (noting that “even if an
   21   issue of fact existed about the presence of a gun, the determinative issue was
   22   whether the officers reasonably believed Barnes had a gun and posed an immediate
   23   threat to safety). As the Fifth Circuit explained, where a suspect comes to an abrupt
   24   stop after a high speed chase, refuses repeatedly to comply at gun point with
   25   commands to show his hands, and reaches down in defiance of those commands, “a
   26   reasonable officer could well fear for his safety ….” Reese v. Anderson, 926 F.2d
   27   494, 500-501 (5th Cir. 1991). “[Those] actions alone could cause a reasonable
   28   officer to fear imminent and serious physical harm.” Id. The Eighth Circuit has
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    1   held, “an officer is not constitutionally required to wait until he sets eyes upon the
    2   weapon before employing deadly force to protect himself against a fleeing suspect
    3   who turns and moves as though to draw a gun.” Thompson v. Hubbard, 257 F.3d
    4   896, 899 (8th Cir. 2001).
    5        In this case it is undisputed that, after a high-speed pursuit followed by a
    6   nearly one-hour standoff with a suspect who was considered armed and dangerous
    7   and had threatened to shoot the officers, Diaz lunged at the officers with an object
    8   in his hand that Officer Green believed to be a gun. SUF Nos. 5-25, 27-31, 36-40.
    9   Even if Officer Green may have been mistaken about the nature of the threat posed
   10   by Diaz, any such mistake was reasonable. Anderson v. Creighton, 483 U.S. at
   11   641; Saucier v. Katz, 533 U.S. 194, 205 (2001); Elliott, 99 F.3d at 644.
   12   Accordingly, Officer Green is entitled to summary judgment on Plaintiffs’ First
   13   Cause of Action pursuant to 42 U.S.C. section 1983 based on excessive force based
   14   on qualified immunity.
   15   III. OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
             PLAINTIFFS’ THIRD CAUSE OF ACTION FOR VIOLATION OF THEIR
   16        SUBSTANTIVE DUE PROCESS RIGHTS BECAUSE PLAINTIFFS CANNOT
             SHOW A PURPOSE TO HARM UNRELATED TO A LEGITIMATE LAW
   17        ENFORCEMENT OBJECTIVE
   18        A claim against a police officer for substantive due process rights under the
   19   Fourteenth Amendment considers the subjective intent of the officer. A.D. v.
   20   Markgraf, 712 F.3d 446, 453 (9th Cir. 2012). In circumstances with “constant
   21   flux” that require officers to make “snap judgments”, substantive due process
   22   violations exist only when the officer “shocks the conscience”, or intends to “harm,
   23   terrorize or kill” the suspect without a legitimate law enforcement objective. Porter
   24   v. Osborn, 546 F.3d 1131, 1140-1141 (9th Cir. 2008) (applying a “purpose to
   25   harm” standard, reasoning that when the use of force against a suspect is only
   26   meant to “teach him a lesson” or “get even”, officers would not be shielded from
   27   liability.) In contrast, summary judgment for the officer is appropriate when there
   28   is no evidence of an ulterior motive. Gonzalez v. City of Anaheim, 747 F.3d 789,
                                                  12
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    1   798-799 (9th Cir. 2014).
    2        There is no evidence that Officer Green had a purpose to harm unconnected to
    3   a legitimate law enforcement objective. Officer Green made the decision to fire at
    4   Diaz under rapidly-evolving and dangerous circumstances where he and other
    5   officers were under threat. These actions do not shock the conscience. Under these
    6   circumstances, the “purpose to harm” standard is not met, and Officer Green did not
    7   commit a substantive due process violation. Thus, Officer Green is entitled to
    8   summary judgment on Plaintiffs’ Third Cause of Action based on the Fourteenth
    9   Amendment.
   10   IV. OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
            PLAINTIFFS’ THIRD CAUSE OF ACTION BASED ON QUALIFIED
   11       IMMUNITY
   12        Given the authority cited in Section III above, Officer Green did not violate
   13   clearly established law concerning plaintiffs’ substantive due process rights.
   14   Plaintiffs cannot show that there existed a clearly established law such that every
   15   reasonable officer would have understood that his use of force in the circumstances
   16   Officer Green faced was unlawful. Thus, Officer Green is entitled to summary
   17   judgment on plaintiffs’ Third Cause of Action based on qualified immunity.
   18   V.   OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
             PLAINTIFFS’ FIFTH CAUSE OF ACTION FOR NEGLIGENCE BECAUSE THE
   19        UNCONTROVERTED FACTS ESTABLISH THAT HIS ACTIONS WERE
             OBJECTIVELY REASONABLE
   20
   21        Under California law, officers have a duty to use deadly force in a reasonable
   22   manner. Munoz v. Olin, 24 Cal. 3d 629, 634 (1979). But an officer will not be
   23   liable for negligence as long as his conduct falls “within the range of conduct that is
   24   reasonable under the circumstances” and is not required to choose the “most
   25   reasonable” action. Hayes v. Cty. of San Diego, 57 Cal. 4th 622, 632 (2013)
   26   (quoting Brown v. Ransweiler, 171 Cal. App. 4th 516, 537-538 (2011)). Courts
   27   must analyze the reasonableness of the officer’s conduct using the totality of the
   28   circumstances and from the perspective from a reasonable officer on the scene, and
                                                 13
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    1   not with the benefit of 20/20 hindsight. Id. Under California law, the
    2   reasonableness of officers’ pre-shooting conduct should be considered together with
    3   the question of whether the use of deadly force was reasonable as long as the pre-
    4   shooting conduct did not cause the plaintiff injuries independent of the shooting
    5   injuries. Id. at 639 (“Law enforcement personnel have a degree of discretion as to
    6   how they choose to address a particular situation.”)
    7        As discussed in Section I, Officer Green’s conduct and use of force was
    8   objectively reasonable and falls under the range of reasonable conduct and
    9   permitted discretion given the circumstances. Accordingly, Officer Green is entitled
   10   to summary judgment on plaintiffs’ Fifth Cause of Action based on negligence.
   11   VI. OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
            PLAINTIFFS’ SEVENTH CAUSES OF ACTION FOR BATTERY BECAUSE THE
   12       UNCONTROVERTED FACTS ESTABLISH THAT HIS USE OF FORCE WAS
            OBJECTIVELY REASONABLE
   13
   14        Under California law, a state battery cause of action, similar to the federal
   15   claim of excessive force claim discussed in Section I above, requires proof of
   16   unreasonable force. Brown, 171 Cal. App. 4th at 527. Police are not treated as
   17   ordinary battery defendants as they are charged with protecting public peace and
   18   order and use force as part of their duties. Id. Police are therefore “entitled to the
   19   even greater use of force than might be in the same circumstances required for self-
   20   defense.” Id.
   21        An officer’s use of force is reasonable if the officer “has probable cause to
   22   believe that the suspect poses a significant threat of death or serious physical injury
   23   to the officer or others.” Id. at 528 (quoting Munoz v. City of Union City, 120 Cal.
   24   App. 4th 1077, 1103 (2004)). The reasonableness analysis is “highly deferential to
   25   the police officer’s need to protect himself and others.” Munoz v. City of Union
   26   City, 120 Cal. App. 4th at 1103.
   27        Here, Officer Green had probable cause to believe Diaz posed an immediate
   28   and significant threat of death or serious physical injury to himself and the other
                                                  14
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    1   officers. As discussed in Section I above, Officer Green was forced to make a
    2   quick decision in the field, and acted in self-defense and defense of his fellow
    3   officers. Officer Green’s actions were reasonable and did not constitute a battery.
    4   Accordingly, Officer Green is entitled to summary judgment on plaintiffs’ Seventh
    5   Cause of Action based on battery.
    6   VII. OFFICER GREEN IS ENTITLED TO SUMMARY JUDGMENT ON
             PLAINTIFFS’ SIXTH CAUSE OF ACTION PURSUANT TO CALIFORNIA
    7        CIVIL CODE SECTION 52.1 BECAUSE THERE IS NO EVIDENCE THAT HE
             HAD A SPECIFIC INTENT TO VIOLATE DIAZ’S RIGHTS
    8
    9         Civil Code section 52.1 (the Bane Act) creates liability on persons who
   10   interfere by threat, intimidation, or coercion, with the exercise or enjoyment by any
   11   individual or individuals of rights secured by the Constitution or laws of the United
   12   States, or of the rights secured by the Constitution or laws of this state. Cal. Civ.
   13   Code § 52.1(a). For the reasons discussed above, Officer Green did not violate any
   14   constitutional rights; therefore, plaintiffs’ Bane Act claims fail.
   15         In addition, to prove a Bane Act claim based on excessive force, a plaintiff
   16   must prove not only a constitutional violation, but also “a specific intent to violate
   17   the arrestee’s right to freedom from unreasonable seizure.” Reese v. Cty of
   18   Sacramento, 888 F.3d at 1043 (quoting Cornell v. City and Cty. of San Francisco,
   19   17 Cal. App. 4th 766, 801-802 (2017)); see also, Sandoval v. Cty. of Sonoma, 912
   20   F.3d 509, 519-520 (9th Cir. 2018). A mere intention to use force that a jury may
   21   ultimately find unreasonable is insufficient. Id. at 1045 (quoting United States v.
   22   Reese, 2 F.3d 870, 885 (9th Cir. 1993)). Rather, a plaintiff must prove that the
   23   defendants “intended not only the force, but its unreasonableness, its character as
   24   ‘more than necessary under the circumstances.” Id.
   25         Plaintiffs can provide no evidence of any specific intent by Officer Green to
   26   violate Diaz’s constitutional rights. Accordingly, Officer Green is entitled to
   27   summary judgment on plaintiffs’ Sixth Cause of Action pursuant to California Civil
   28   Code Section 52.1.
                                                  15
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    1                                    CONCLUSION
    2        Based on the foregoing, Officer Green respectfully requests that the court
    3   enter summary judgment, or, in the alterative, partial summary judgment, in his
    4   favor.
    5   Dated: December 2, 2020                      Respectfully submitted,
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